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     Attorneys for Defendant
13   WORKDAY, INC.

14                                   UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16

17   DEREK L. MOBLEY, for and on behalf of           Case No. 4:23-cv-00770-YGR
     himself and other persons similarly situated;
18                                                   STIPULATION AND [PROPOSED]
                        Plaintiff,                   ORDER TO CONTINUE CASE
19                                                   MANAGEMENT CONFERENCE AND
            v.                                       RELATED DATES
20
     WORKDAY, INC.
21
                        Defendant.
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         STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
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1           Plaintiff Derek Mobley (“Plaintiff”) and Defendant Workday, Inc. (“Defendant”)

 2   (collectively, the Parties), by and through their respective counsel of record, hereby stipulate to a

 3   continuance of the initial case management conference presently scheduled for October 2, 2023 at

 4   2:00 p.m. and all related deadlines. This stipulation and request is based on the following:

 5              1. Plaintiff filed this case as a putative class action alleging violations of Title VII of

 6                  the Civil Rights Act of 1964, 42 U.S.C. Section 1981, the Americans with

 7                  Disabilities Act, and the Age Discrimination in Employment Act of 1967 on

 8                  February 21, 2023.

 9              2. Defendant was served with the Complaint on April 25, 2023 through its agent for
10                  service of process.

11              3. On May 3, 2023, the parties agreed to a 60-day extension of time for Defendant to

12                  respond to the Complaint, making the responsive deadline July 17, 2023.

13              4. On July 17, 2023, Defendant moved to dismiss the Complaint on the grounds that

14                  Plaintiff failed to state a claim upon which relief can be granted and failed to

15                  exhaust administrative remedies setting a hearing date of September 12, 2023.

16              5. Per the Court’s August 17, 2023 Order, Plaintiff’s Opposition to Defendant’s

17                  motion to dismiss is due on September 13, 2023.

18              6. Defendant’s reply in support of its motion to dismiss is currently due September

19                  25, 2023 and the hearing on Defendant’s motion is scheduled for October 10, 2023
20                  at 2:00 p.m.

21              7. The parties agree that the Court’s ruling on Defendant’s motion could have a

22                  material impact on scheduling, alternative dispute resolution options, and the

23                  scope of discovery moving forward. Particularly given the breadth of Plaintiff’s

24                  allegations and the potential implication of discovery from unknown third-party

25                  employers, the Parties agree the interests of efficient allocation of resources and

26                  judicial economy are best served by continuing the currently scheduled case

27                  management conference until a time after the pleadings are set and the case is at

28                  issue.


         STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
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 1          NOW, THEREFORE, it is hereby stipulated and agreed by the Parties, by and through the

 2   undersigned counsel of record that the October 2, 2023 initial case management conference and

 3   all related deadlines, including those imposed by Federal Rule of Civil Procedure 26, be

 4   continued (subject to the Court’s approval) to 30 days following the filing of Defendant’s

 5   Answer.

 6   Dated: September 13, 2023.                           ORRICK, HERRINGTON & SUTCLIFFE LLP
 7

 8                                                        By:
                                                                         JULIE A. TOTTEN
 9                                                                      ERIN M. CONNELL
                                                                       KAYLA D. GRUNDY
10                                                                   ALEXANDRIA R. ELLIOTT
                                                                     JUSTIN M. WASHINGTON
11                                                                     Attorneys for Defendant
                                                                         WORKDAY, INC.
12
     Dated: September 13, 2023.                           WINSTON COOKS LLC
13

14
                                                          By:            /s/ Roderick T. Cooks
15                                                                        LEE D. WINSTON
                                                                        RODERICK T. COOKS
16                                                                       Attorneys for Plaintiff
                                                                           DEREK MOBLEY
17
                                                                      ADMITTED PRO HAC VICE
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19
20   I hereby attest that the concurrence in the filing of this document has been obtained from
     Roderick T. Cooks, Attorney for Plaintiff.
21

22   Dated: September 13, 2023                                  ______________________
                                                                  JULIE A. TOTTEN
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         STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
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 1                                           [PROPOSED] ORDER

 2          Having read the Parties’ Stipulation and good cause appearing, the Court hereby

 3   GRANTS the Parties’ Stipulation and orders the following:

 4          The initial case management conference scheduled for October 2, 2023 is continued to

 5   __________________________________, at ______ a.m./p.m. All related deadlines triggered

 6   by the date of the initial case management conference are similarly continued and shall proceed

 7   pursuant to Code and/or this Court’s Procedures based on the new conference date.

 8          IT IS SO ORDERED.

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     Dated: _____________________                                By:_________________________
10                                                               Hon. Yvonne Gonzalez Rogers
11                                                               District Court Judge

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         STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
